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                            UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF NEW YORK

 DANIEL PLAUT, Individually and on Behalf of
 All Others Similarly Situated,

                         Plaintiff,                     Civ. A. No. 1:18-cv-12084-VSB

                v.

 THE GOLDMAN SACHS GROUP,
 INC., LLOYD C. BLANKFEIN,
 HARVEY M. SCHWARTZ, and R.
 MARTIN CHAVEZ,

                         Defendants.


      NOTICE OF MOVANT IWA FOREST INDUSTRY PENSION PLAN’S NON-
        OPPOSITION TO COMPETING MOTIONS FOR LEAD PLAINTIFF

       On February 19, 2019, pursuant to the Private Securities Litigation Reform Act of 1995

(“PSLRA”), 15 U.S.C. § 78u-4(a)(3)(B), IWA Forest Industry Pension Plan moved for

appointment as lead plaintiff in connection with the above-captioned securities fraud class action.

ECF No. 18. A number of putative class members also moved for appointment as lead plaintiff.

ECF Nos. 15, 21, 25, 29.

       The PSLRA provides that there is a presumption that “the most adequate plaintiff . . . is the

person or group of persons” that, inter alia, “has the largest financial interest in the relief sought

by the class.” 15 U.S.C. § 78u-4(a)(3)(B)(iii)(I). Having reviewed the competing motions and

memoranda in support, it appears that IWA Forest Industry Pension Plan does not possesses the

largest financial interest in the relief sought by the class. Therefore, IWA Forest Industry Pension

Plan does not oppose the competing motions for appointment as lead plaintiff made by putative

class members with a larger financial interest than IWA Forest Industry Pension Plan in the relief

sought by the class.
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       Should the Court determine the other lead plaintiff movants with larger losses than IWA

Forest Industry Pension Plan are incapable of representing the class or inadequate to represent the

class in this litigation, IWA Forest Industry Pension Plan continues to be willing and able to serve

as lead plaintiff, or as a class representative should the Court deem such designation appropriate

and just under all of the circumstances. This response is without prejudice to IWA Forest Industry

Pension Plan’s rights as a member of the proposed class, including, but not limited to, the right to

share in any recovery from the resolution of this litigation through settlement, judgment or

otherwise.

 Dated: March 5, 2019                                Respectfully submitted,

                                                     /s/ Frederic S. Fox
                                                     Frederic S. Fox
                                                     Donald R. Hall
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                                                     Attorneys for Movant IWA Forest Industry
                                                     Pension Plan




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                                 CERTIFICATE OF SERVICE

       I, Frederic S. Fox, hereby certify that, on March 5, 2019, I caused the foregoing to be

served on all counsel of record by filing the same with the Court using the CM\ECF system

which will send electronic notices of the filing to all counsel of record.



                                                      /s/ Frederic S. Fox
                                                      Frederic S. Fox
